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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


  IN RE: VALSARTAN, LOSARTAN, AND                   No. 1:19-md-2875-RBK-KMW
  IRBESARTAN PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  All Actions


      PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO APPEAL OF
                     SPECIAL MASTER ORDER NO. 84
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                                         INTRODUCTION

         More than a year after the close of fact discovery, the ZHP Defendants served third-party

  Valisure with a subpoena seeking information related to its 2019 Citizen Petition, which was

  known to the ZHP Defendants when it was filed. [ECF 863; 2227-4, 2217-4.] Specifically, the

  ZHP Defendants belatedly requested information to determine whether the drugs tested by

  Valisure included brand name valsartan drugs Diovan or Exforge. [ECF 2217-4, 2476 at 4.] The

  ZHP Defendants’ subpoena was untimely, sought abjectly unreliable information, and was

  properly quashed by Special Master Vanaskie.

         Contrary to the ZHP Defendants’ assertions, CMO 23 does control. Fact discovery had

  closed over a year before the ZHP Defendants served their subpoena and the ZHP Defendants do

  not even try to claim that they were not aware of the information forming the basis of the subpoena

  until after it had closed. The “ZHP Defendants were aware of the Valisure Citizen Petition for

  many months before seeking identification of the NDC numbers for the substances disclosed in

  the Petition.” [ECF 2476 at 4.] Defendants nonetheless failed to act, waiting until well after the

  close of discovery, exchange of expert reports, and subsequent briefing to request information

  wholly irrelevant to the litigation. Indeed, after hundreds of hours of testimony, no party ever

  sought testimony about Valisure and the ZHP Defendants never bothered to conduct their own

  testing to determine whether Exforge or Diovan contained nitrosamines. [See id.]

         Plaintiffs accordingly request that the Court DENY the appeal of Special Master Order 84.

                                   FACTUAL BACKGROUND

         On February 11, 2021, this Court issued CMO 23, providing that the deadline for the first

  phase of fact discovery was June 1, 2021 and the deadline for the second phase of fact discovery

  was October 4, 2021. [ECF 863.] Subsequently, on December 14, 2022, Defendant ZHP gave


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  notice that it was serving third-party laboratory Valisure with a subpoena. [ECF 2217-4.] Valisure

  objected to the subpoena on December 28, 2022 and indicated it would not produce documents.

  [ECF 2217-6.]

           By this point, it had been more than two years since Plaintiffs were ordered by the Court

  to serve any and all subpoenas they intended to serve upon all third parties by October 15, 2020

  [ECF 575.] Plaintiffs’ subpoenas were subject to extensive briefing by the Parties. [See ECF 652

  et seq.] During that protracted briefing, the Parties met and conferred countless times and the Court

  heard hours of oral argument regarding third-party discovery. For their part, the ZHP Defendants

  have taken testimony from approximately sixty physicians and third-party payors initiated in

  advance of the discovery deadline. The ZHP Defendants have not pursued any other third-party

  discovery after the discovery deadline except for the Valisure subpoena.

           The ZHP Defendants filed a Motion to Compel Compliance with the Valisure Subpoena.

  Plaintiffs opposed the Motion and filed a Cross-Motion for a Protective Order and to Quash the

  Valisure Subpoena.1 On August 29, 2023, Special Master Vanaskie entered Special Master Order

  84, denying the ZHP Defendants’ Motion to Compel, granting Plaintiffs’ Motion, and quashing

  the Valisure Subpoena. This appeal followed.

                                       LEGAL ARGUMENT

      I.      STANDARD OF REVIEW

              1. Objection to Special Master’s Order

           The Court reviews a party’s objections to a Special Master’s findings of fact and legal

  conclusions de novo. Fed. R. Civ. P. 53(f)(3)–(4). “This, however, does not require the reviewing



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   The ZHP Defendants do not, in this appeal, challenge Plaintiffs’ standing to seek a protective
  order quashing the subpoena. Plaintiffs nonetheless have standing to do so. See, e.g., Aetrex
  Worldwide, Inc. v. Burten Dist. Inc., 2014 WL 7073466, at *4 (D.N.J. Dec. 15, 2014).
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  court to hear new arguments. In fact, courts generally ‘exclude evidence of new arguments on

  objections because systematic efficiencies would be frustrated and the Special Master’s role

  reduced to a mere dress rehearsal.” Net2Phone, Inc. v. Ebay, Inc., 2008 WL 8183817, at *4 (D.N.J.

  June 26, 2008) (quoting Dunkin’ Dounts Franchised Restaurants LLC v. Mehta, 2007 WL

  2688710, at *1–2 (W.D. Pa. Sept. 11, 2007)).

             2. Subpoenas

         “A Rule 45 subpoena must fall within the scope of proper discovery under Fed. R. Civ. P.

  26(b)(1).” Schmulovich v. 1161 Rt. 9 LLC, 2007 WL 2362598, at *2 (D.N.J. Aug.15, 2007).

  Although the “scope of discovery is broadly construed, it is not without its limits and may be

  circumscribed.” In re Novo Nordisk Sec. Litig., 530 F.Supp.3d 495, 501 (D.N.J. 2021). Courts have

  the authority to quash or modify subpoenas which fall outside the scope of permissible discovery”

  as defined by Rule 26(b). Korotki v. Cooper Levenson, April, Niedelman, & Wagenheim, P.A.,

  2022 WL 219519, at *2 (D.N.J. June 17, 2022). “Applying Rules 26 and 45, the Court must

  balance several competing factors in assessing the reasonableness of the subpoenas: (1) relevance,

  (2) the party's need for the documents, (3) the breadth of the document request, (4) the time period

  covered by it, (5) the particularity with which the documents are described, (6) the burden imposed,

  and (7) the subpoena recipient's status as a nonparty to the litigation.” Id. at *3. The relevancy

  standard “is not so liberal as to allow a party to roam in shadow zones of relevancy and to explore

  matter which does not appear germane merely on the theory that it might become so.” See, e.g.,

  Costantino v. City of Atlantic City, 2015 WL 12806490, at *2 (D.N.J. Nov. 4, 2015).

         Courts have authority to issue protective orders and quash subpoenas pursuant to the Rules

  of Civil Procedure, but also as a matter of inherent authority. First, Courts have inherent discretion

  to enforce their own scheduling and case management orders. See Lockhart v. Willingboro High


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  Sch., 2017 WL 1145996, at *4 (D.N.J. May 3, 2017). If a subpoena is deemed untimely, the Court

  has the authority to quash the subpoena even without motion.2 Second, Courts are entitled to issue

  a protective order if the requesting party demonstrates either that the requested discovery does not

  fall within Rule 26, or that the requested discovery imposes an unreasonable burden, or is

  otherwise interposed for purposes of harassment or undue delay. Fed. R. Civ P. 26(b)(2)(C)(iii).

      II.      THE ZHP DEFENDANTS’ SUBPOENA TO VALISURE WAS UNTIMELY

            It is indisputable that the ZHP Defendants’ subpoena to Valisure was served over a year

  after the fact discovery deadlines established by CMO 23. [ECF 863] The ZHP Defendants do not

  deny this but claim that, despite the deadlines expressly set out in CMO 23, the subpoena to

  Valisure was not untimely because the Order was “never intended to preclude additional fact

  discovery.” [ECF 2494-1 at 5.] Fact discovery in this litigation cannot proceed indefinitely and

  without restraint, as the ZHP Defendants allege. Rather, the deadlines clearly established in CMO

  23 govern and fact discovery is over. The ZHP Defendants had ample time to issue a subpoena

  during fact discovery and cannot credibly claim that there was a reasonable basis for delay. [ECF

  2476 at 4–5.] The failure to issue the subpoena within the CMO 23 deadlines render it untimely.

               1. The Deadlines in CMO 23 Are Controlling

            The ZHP Defendants, relying on a single word in CMO 23, first argue that the Court

  intended for fact discovery to continue beyond the deadlines listed in the Order. [ECF 2494-1 at 4

  (“The reference to the ‘first’ phase of discovery expressly confirms that further discovery is




  2
   This authority is also rooted in Fed. R. Civ. P. 16(f) which authorizes a district court to issue, sua
  sponte, “any just orders … if a party or its attorney … fails to obey a scheduling or other pretrial
  order.” Mulero-Abreu v. P.R. Police Dep’t, 675 F.3d 88, 91 (1st Cir. 2012) (citing Fed. R. Civ. P.
  16(f)(1)(C)). Thus, the Court had authority to quash the subpoena at issue even in the absence of
  a Motion by Plaintiffs.

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  contemplated.”).] This reliance is misplaced. Discovery in this case was to be conducted in two

  phases, the first phase ending June 1, 2021 and the second (final) phase, ending October 4, 2021.

  [ECF 863.] Third-party discovery was to be completed by the end of the second phase of discovery

  on October 4, 2021. [Id.] The ZHP Defendants have not identified any order of this Court setting

  alternative dates for third-party discovery. [See generally ECF 2494-1.]

         Valisure’s Citizen Petition concerning nitrosamine impurities in valsartan-containing drugs

  was filed on June 13, 2019. [ECF 2227-4.] Yet, the ZHP Defendants did not serve a third-party

  subpoena on Valisure during either of the two phases of fact discovery. Instead, they sat on their

  hands, either due to lack of diligence or for strategic purposes, and waited over a year until the

  second (and final) phase of fact discovery had closed to serve their third-party subpoena on

  Valisure. [ECF 2217-4]. The complete lack of any justification for the delay in seeking this

  information is as dispositive as the delay itself.

         The ZHP Defendants assert that the “reference to the ‘first’ phase of discovery expressly

  confirms that further discovery is contemplated.” [ECF 2494-1 at 4.] While the Court did

  contemplate a second phase of discovery as demonstrated by CMO 23, the second phase of

  discovery concluded in October 2021—over a year before issuance of the Valisure subpoena. [ECF

  863.] After fact discovery closed, the Court revised the scheduling order. [ECF 1679.] That

  scheduling order did not provide for additional fact discovery; to the contrary, it established

  deadlines for the expert reports and briefing that would be based on the fact discovery already

  conducted. [Id.] No fact discovery was contemplated beyond the second phase of discovery. [ECF

  863, 1679.] Certainly, additional “phases” of fact discovery are not intended to be added by fiat of

  a party, let alone after the exchange of expert reports and extensive briefing focused in large part

  on the bases for the opinions at issue.


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          The ZHP Defendants next argue that their subpoena was timely because the Court

  permitted subsequent discovery in other—unrelated—parts of the litigation. [ECF 2494-1 at 5.]

  As an initial matter, the ZHP Defendants’ failure to raise this argument before the Special Master

  precludes consideration of this argument now. Net2Phone, Inc. v. Ebay, Inc., 2008 WL 8183817,

  at *4 (D.N.J. June 26, 2008) (“[I]n an appeal of a Special Master’s decision, the parties cannot

  raise entirely new arguments for the first time.” (quotations omitted)). This argument also fails on

  the merits. The ZHP Defendants willfully ignore the distinction between the third-party fact

  discovery they seek and the subsequent discovery permitted by the Court. The Court has permitted

  additional discovery in limited, unique circumstances as follows:

      •   Case-specific discovery to prepare for the TPP trial as contemplated by the Parties3
      •   Losartan/irbesartan discovery in a separate part of the litigation proceeding on an entirely
          different timeline
      •   Wholesaler/retailer discovery requested prior to the discovery deadlines with production
          deferred until after the deadline

  The ZHP Defendants allude to Fed. R. Civ. P. 16(b)(4), which permits courts to modify schedules

  for “good cause” but fail to identify any evidence that the Court took action to modify the schedule

  for third-party discovery in this case. [ECF 2494-1 at 4.]. Nor is there any good cause shown – to

  the contrary, the record shows inexcusable delay.

             2. Defendants Lacked Good Cause to Delay

          Defendants cannot credibly claim that they had “good cause” for delay because they were

  aware when the Citizen Petition that forms the basis of this subpoena was published to the public

  domain on June 13, 2019. [ECF 2227-4.] Defendants consequently had more than two years to



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    The ZHP Defendants make much out of the Court’s language that the “… timeliness objection
  does not factor into the decision." [ECF 2249.] They ignore, the context of this statement, namely,
  that “Because MSPRC does not seek denial of the TPP Defendants’ request on timeliness grounds
  and the fact that case-specific fact discovery was contemplated after the TPP Plaintiff was
  identified, MSPRC’s timeliness objection does not factor into the decision…” [Id.]
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  subpoena records from Valisure, to the extent they believed such records were somehow relevant

  to their claims and defenses. Instead, Defendants opted to subpoena this entity after Plaintiffs

  submitted their expert liability reports and Daubert briefing was filed, after Plaintiffs submitted

  their motion for Class Certification, and after the close of fact discovery. Defendants’ own

  document productions (completed prior to the close of fact discovery), likewise undercut the

  hyperbolic sense of urgency in their motion: the fact remains that Defendants were aware of the

  existence of the Valisure Citizen’s petition in June of 2019. [See, e.g., ECF 2227-3, 2227-4, 2227-

  5, 2227-6, 2227-7.]

         Discovery deadlines are not arbitrary. Special Master Vanaskie explained that discovery

  deadlines, in general, are “important” because they “enable the record to be set for such significant

  events as class certification and summary judgment motions.” [ECF 2476 at 4.] In this case

  specifically, The ZHP Defendants sought to pursue third-party discovery “after Plaintiffs presented

  their expert witness reports on liability, and well after briefing and decisions on class certification

  decisions” despite being aware of the Valisure Citizen Petition for “many months” before. [Id.]4

  The scheduling orders in this case demonstrate that there were two phases of fact discovery,

  followed by expert reports and briefing which were reliant on the productions made during fact

  discovery. [ECF 863, 1679.] To permit subsequent third-party discovery well after discovery,

  expert, and briefing deadlines had passed would prejudice Plaintiffs and further protract this




  4
    Special Master Vanaskie concluded that the subpoena was untimely because it was issued after
  “Plaintiffs had presented their expert witness reports on liability and well after briefing and
  decisions on class certification issues.” [ECF 2476 at 4.] Defendants’ argument that this conclusion
  is erroneous and should be vacated because “Rule 23 motions were still pending and although
  expert reports concerning liability issues had been disclosed by Plaintiffs” they were focused on
  manufacturer-specific issues, ignores the logic of the Special Master’s findings. [ECF 2494-1 at
  6.]

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  litigation.5 Special Master Order 84, quashing the subpoena as untimely, is consistent with the

  standard practice of courts in this jurisdiction, which routinely quash subpoenas served not only

  after the close of discovery but also days or weeks before the close of discovery as untimely where

  defendants had adequate time to seek earlier discovery. Duardo v. City of Hackensack, 2021 WL

  35089781, at *3 (D.N.J. Aug. 9, 2021). Here, the Valisure Subpoena was untimely and was

  properly quashed because Defendants had “ample time” to seek third-party discovery on the

  Valisure Citizen Petition but waited until discovery had been closed for over a year to serve their

  subpoena on Valisure. Id.; [ECF 2476 at 4.]

      III.      THE ZHP DEFENDANTS’ SUBPOENA TO VALISURE SEEKS

                IRRELEVANT INFORMATION

             At a minimum, to be discoverable, information must be relevant. Fed. R. Civ. P. 26(b)(1).

  “A nonparty is ‘afforded greater protection in discovery and nonparty subpoenas must meet a

  higher standard of relevance than subpoenas directed toward parties.’” Duardo v. City of

  Hackensack, 2021 WL 34089781, at *3 (D.N.J. Aug. 9, 2021). The ZHP Defendants failed to show

  that information related to Valisure’s pre-suit testing of branded valsartan has anything to do with

  this litigation.

      1. Valisure’s Data is Not Needed to Confirm Whether Diovan/Exforge Are Free of
         NDMA Because Reputable Health Authorities Have Done So

             The ZHP Defendants argue that they need access to the NDC codes for valsartan tested by




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    Defendants argue that neither Plaintiffs nor Valisure would be prejudiced and that “basic
  fairness” requires the Court to overturn the Special Master’s order in favor of Defendants. In fact,
  Plaintiffs would be prejudiced having fully briefed numerous issues based on the discovery that
  existed at the time and Plaintiffs would be forced to expend considerable time and effort to assess
  whatever documents might be produced by the subpoena and assess whatever issues they might
  inject, beginning with the serious lack of reliability of the laboratory – which could never meet the
  Daubert criteria. The same prejudice and inefficiency would be directed to the Court as well.
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  Valisure prior to commencement of this litigation to determine if, according to Valisure,

  Diovan/Exforge also contained NDMA. [ECF 2494-1 at 1–2.] However, Health Canada publicly

  confirmed that branded valsartan does not contain NDMA.6 Consistent with these results, the FDA

  chose not to recall either product for NDMA contamination.7 Despite adequate information from

  Health Canada and the FDA confirming that there are no nitrosamines in Diovan/Exforge, the ZHP

  Defendants argue that the only way for them to determine whether these products are free of

  nitrosamines is to access information from Valisure, a third-party testing laboratory with a history

  of providing unreliable test results. [ECF 2494-1 at 1–2.] For example, on December 5, 2022, the

  FDA issued a letter to Valisure regarding deficiencies FDA inspectors had observed with respect

  to Valisure’s NDMA testing—the very subject of the Valisure subpoena. [ECF 2227-8.]

  Specifically, the FDA inspectors observed that Valisure’s NDMA testing methods were flawed,

  that it did not adequately address out of specification (OOS) testing results, that it used

  instrumentation that did not meet established specifications, and that it failed to exercise

  appropriate controls. [ECF 2227-8.] Defendants fail to establish any need for Valisure data on

  Diovan/Exforge where they could have availed themselves of test results from reliable public

  health authorities. 8



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   Health Canada, Impurities found in certain angiotensin II receptor blocker (ARB) products, also
  known       as       sartans,      https://www.canada.ca/en/health-canada/services/drugs-health-
  products/compliance-enforcement/information-health-product/drugs/angiotensin-receptor-
  blocker.html (last accessed Sept. 29, 2023).
  7
   See FDA, FDA Updates and Press Announcements on Angiotensin II Receptor Blocker (ARB)
  Recalls (Valsartan, Losartan, and Irbesartan), https://www.fda.gov/drugs/drug-safety-and-
  availability/fda-updates-and-press-announcements-angiotensin-ii-receptor-blocker-arb-recalls-
  valsartan-losartan (last accessed Sept. 29, 2023).
  8
    In addition, as Special Master Vanaskie explained, “if the ZHP Defendants were of the opinion
  that Exforge or Diovan contain nitrosamines, they were free to conduct their own testing to confirm
  those beliefs. That they did not do so is no reason to open discovery that should have concluded
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     2. The ZHP Defendants Have Already Admitted that the Diovan/Exforge Process

         Any claims of relevance by the ZHP Defendants are further undermined by their own prior

  admissions that tin process (referred to by ZHP as “Process I”)—the only process by which

  Diovan/Exforge were manufactured—cannot produce NDMA. [See, Ex. A, ZHP02440250, at 10

  (“Process I . . . will not carry this NDMA impurity.”).] The ZHP Defendants argue that they need

  the subpoenaed information to demonstrate that Diovan/Exforge also contain nitrosamines, but

  they have already admitted that this is impossible. [Id.] In light of the ZHP Defendants’ own

  chemical analysis demonstrating that NDMA cannot form in these products, there is no basis to

  review further testing data to determine whether it is present: the ZHP Defendants have already

  answered that question.

         The ZHP Defendants have not established that the information sought meets the baseline

  requirement of discoverability: relevance. See, e.g., Raritan Baykeeper, Inc. v. NL Industries Inc.,

  2014 WL2965881 *7 (D.N.J. July 1, 2014) (finding discovery requests improper because they had

  “no relevance” to any element of the claim plaintiff must prove).

                                           CONCLUSION

         For the foregoing reasons, Plaintiffs request that the Court deny the ZHP Defendants’

  Appeal of Special Master Order 84.




  long ago.” [ECF 2476 at 5.] Defendants’ argument that Valisure’s internal data might reveal that
  brand name valsartan contained nitrosamines and undermine Plaintiffs’ theories is undermined, as
  Special Master Vanaskie highlighted, by the fact that Defendants never bothered to investigate this
  issue in the years since the 2019 Citizen’s Petition was released. [See id.]

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   Dated:   October 2, 2023        NIGH, GOLDENBERG, RASO, & VAUGHN

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